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                                     UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA


EUNICE WELLS, et al.                                  *

                    Plaintiffs                        *


          vs.                                         *       Case no.: 1:00CV00760(LFO)(DAR)


ALLSTATE INSURANCE CO., et al.                        *

                    Defendants                        *
*   *     *     *    *    *      *    *   *   *   *   *   *   *   *   *   *   *   *   *   *   *



                         JOINT MOTION FOR PRELIMINARY APPROVAL
                                OF PROPOSED SETTLEMENT


          Named Plaintiffs Eunice Wells and Charles Rawlings, and the Defendants Allstate

Insurance Company and Allstate Indemnity Company (hereafter “Settling Parties”) in this Action

hereby jointly move the Court pursuant to Fed.R.Civ.P. 23(e) for an order preliminarily

approving the Settlement Agreement reached in this lawsuit. A copy of the Settlement

Agreement is attached to this Joint Motion as Exhibit A, and is incorporated herein by reference.

The Settlement is proposed on behalf of a Class of persons previously certified pursuant to Fed.

R. Civ. P. 23 by this Court which is defined as follows:

                    Allstate policyholders or beneficiaries who (1) between March 20,
                    1997 and July 6, 2006, (2) made a claim for uninsured motorist
                    benefits with Allstate which was paid in part or in full, (3) that
                    included, inter alia, a claim for bodily injury, and (4) at some or all
                    points in the claims process were represented by an attorney.

          In further support of this Joint Motion for Preliminary Approval, the

Settling Parties state the following:



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       1.      The Settling Parties have agreed on the settlement of all claims of Plaintiffs and

all Class Members against the Defendants.

       2.      All terms, definitions, provisions, reservations, and conditions of the settlement

are more particularly set forth in the Settlement Agreement attached hereto. To the extent that

there may be any conflict between the terms, definitions, provisions, reservations, and conditions

set forth in this Joint Motion and those set forth in the Settlement Agreement, the terms,

definitions, provisions, reservations, and conditions of the Settlement Agreement shall govern.

       3.      The purposes and intent of all parties to this Joint Motion are (a) that, subject to

the approval of the Court, the Action and all claims raised therein shall be finally and fully

compromised, settled, and released, and (b) that the Action shall be dismissed with prejudice,

upon and subject to the terms and conditions of the Settlement Agreement.

       4.      As noted in the Settlement Agreement, the Settling Parties have agreed to,

and do hereby propose that the Class remain defined as it is in the Order certifying the

Class dated July 6, 2006. That definition is also set forth above.

       5.      In accordance with the provisions of the Settlement Agreement, the Settling

Parties hereby request that the Court hold a settlement hearing, at which time the parties will

seek: (1) final approval of the terms of the Settlement Agreement as fair, reasonable, and

adequate to the Settlement Class, and; (2) approval of an incentive award to named Plaintiffs in

the amount of $10,000 each. At that time, Class Counsel will also seek an award of their

attorneys’ fees and costs, in the total amount of $725,000, to be paid by Defendants apart from

any payments made to the Class Members or to the Named Plaintiffs; Defendants have agreed

not to oppose that request.




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       6.       Movants submit that the proposed Settlement is “within the range of possible

approval” warranting preliminary approval by the Court. In re Vitamins Antitrust Litigation, No.

99-197 (TFH), 2000 WL 673936, *2 (D.D.C. Jan. 27, 2000). At the preliminary approval stage,

the Court’s only task is to determine whether “the proposed settlement appears to be the product

of serious, informed, non-collusive negotiations, has no obvious deficiencies, does not

improperly grant preliminary preferential treatment to class representatives or segments of the

class, and falls within the range of possible [judicial] approval.” In re Vitamins Antitrust

Litigation, No. 99-197 (TFH), 1999 WL 1335318, *5 (D.D.C. Nov. 23, 1999). A proposed

settlement falls within the “range of possible approval” under Rule 23(e) where there is a

conceivable basis for presuming that the proposed settlement will meet the standards governing

the final approval of class settlements. Id.

       7.      Settlements proposed by experienced counsel and which result from arm’s-length

negotiations are entitled to deference from the court. In re First Databank Antitrust Litigation,

205 F.R.D. 408, 411 (D.D.C. 2002); In re Vitamins Antitrust Litigation, No. 99-197 (TFH), 2001

WL 856290, *1 (D.D.C. July 19, 2001). See also In re Linerboard Antitrust Litig., 292 F. Supp.

2d 631, 640 (E.D. Pa. 2003) (“A presumption of correctness is said to attach to a class settlement

reached in arms-length negotiations between experienced, capable counsel after meaningful

discovery.”) citing Hanrahan v. Britt, 174 F.R.D. 356, 366 (E.D. Pa. 1997); In re Automotive

Refinishing Paint, 2003 WL 23316645 at *6 (E.D. Pa. Sept. 5, 2003); Petruzzi’s, Inc. v. Darling-

Delaware Co., 880 F. Supp. 292, 301 (M.D. Pa. 1995) (“the opinions and recommendations of

such experienced counsel are indeed entitled to considerable weight.”); Lake v. First Nat’l Bank,

156 F.R.D. 615, 628 (E.D. Pa. 1994) (giving “due regard to the recommendations of the

experienced counsel in this case, who have negotiated this settlement at arms-length and in good



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faith.”). The initial presumption in favor of such settlements reflects courts’ understanding that

vigorous negotiations between seasoned counsel protects against collusion and advances the

fairness concerns of Rule 23(e).

       8.        The settlement reached here is the product of extensive settlement negotiations,

which unfolded over a period of several months and was concluded only after Plaintiffs already

had taken substantial discovery in the litigation. The Settling Parties agree that the Settlement

was negotiated at arms’ length in good faith by the Settling Parties, with the assistance of a

professional mediator (Jonathan Marks of Marks ADR, Inc.), and reflects a Settlement that was

reached voluntarily after consultation with competent legal counsel.

       9.        Movants further suggest that the factors demonstrating the reasonableness of the

proposed Settlement as reflected in the Settlement Agreement include:

            a.      the uncertainty of the complex legal issues underlying the allegations in the
                    Action;

            b.      the assurance that the Settlement Class Members who file claims in
                    accordance with the proposed Notice provisions and Claim Form will obtain a
                    significant benefit regardless of the outcome of further litigation;

            c.      the interests of judicial economy after more than seven years of hard-fought
                    litigation in this forum and in the Court of Appeals;

            d.      the costs of continued litigation for the Settling Parties;

            e.      the age of some of the claims and the practical difficulties associated with
                    locating and providing tangible proof relating to those claims many years after
                    the events described in the Amended Complaint;

            f.      the prevailing consideration in all compromises and settlements that each
                    party, whether the Settlement Class or the Settling Parties, weighs the
                    advantages and benefits of settlement against the potential risks and benefits
                    of continued litigation.




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       10.        Movants note that Defendants have denied, and continue to deny, the allegations

in the Action. Consequently, the Settlement, and the consideration therefore, is fair, reasonable,

and adequate, considering:

             a.      the complexity, expense, and likely duration of the litigation with respect to
                     the further participation of the Settling Parties;

             b.      the state of the proceedings and the amount of briefing already completed and
                     decided in this Court and in the Court of Appeals;

             c.      the agreement to pay a signification Settlement Amount, up to $800,000, and
                     the benefits that will therefore be available to those of the approximate 1,200
                     class members who file claims; and

             d.      the concurrences of counsel for the Settlement Class and the Settling Parties
                     as reflected in their respective signatures to this Joint Motion.

       11.        Plaintiffs’ Counsel represents to the Court that, in their opinion, the Settlement, as

proposed, is fair and reasonable to the putative Class as proposed, especially in view of the

uncertainties and vagaries of further litigation with the Defendants, and the immediate and

substantial benefit obtained for the Class.

       12.        In accordance with the provisions of the Settlement Agreement, Class Counsel

present for the approval of the Court the following proposed plan:

             a.      Following the Court's determination pursuant to this Motion that the
                     Settlement should be preliminarily approved, Notice to all Class Members, in
                     the form attached to the settlement agreement as Exhibit 4, shall be
                     disseminated in accordance with the terms contained in the Settlement
                     Agreement and in the Administration Plan, informing Class Members of their
                     rights to make claims, to object to the terms of the proposed Settlement, to be
                     heard on any objections at the Settlement Hearing to be conducted at a
                     prescribed time and place and in a prescribed manner, or to opt out of the
                     Class.

             b.      The Settlement Hearing shall be conducted in such manner as to assure full
                     compliance with applicable considerations of due process of law and the
                     provisions of the Federal Rules of Civil Procedure.




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       13.     The Preliminary Approval Order (attached to the Joint Motion as Exhibit B)

provides a mechanism for the dissemination of the Notice pursuant to the terms of the Settlement

Agreement and Administration Plan to each Class Member by first class mail to his or her last

known address. Costs of mailing, locating Class Members, and processing claims shall be borne

by the Defendants pursuant to the terms of the Settlement Agreement.

       14.     To facilitate the proposed Settlement and in the interests of judicial economy, the

Settling Parties request that the commencement and/or prosecution of any and all actions and

proceedings (including discovery) by, on behalf of, or through any Class Members and third

persons against any of the Defendants (excluding, however, those proceedings within the Action

necessary to obtain final approval of the Settlement embodied in the Settlement Agreement),

should be enjoined and stayed during the pendency of these Settlement proceedings and until

further ordered by this Court.

       15.     As described in the Settlement Agreement, the Settling Parties agree that, in the

event of termination of the Settlement Agreement, the Action shall revert to its status before the

execution of the Settlement Agreement, as if related orders and papers and the efforts leading to

the Settlement Agreement had not been entered, prepared, or taken, and the Settling Parties

would then jointly request that a new scheduling order be entered.

       16.     The Settling Parties agree that the Court shall retain jurisdiction with respect to

the implementation and enforcement of the terms of the Settlement Agreement, and all Settling

Parties submit to the jurisdiction of the Court for purposes of implementing and enforcing the

Settlement embodied in the Settlement Agreement.




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     WHEREFORE, MOVANTS REQUEST:

A.   That the Court review the proposed Settlement Agreement and that the Settlement
     Agreement and the terms of the settlement contained therein be preliminarily
     approved by the Court as fair, reasonable, and adequate, entered into in good faith
     after arms’ length negotiations between the parties;

B.   That the Court approve the form of Notice to the Class Members, and order its
     dissemination to Class Members as provided in the Settlement Agreement, so that
     the Court may obtain and consider comments/objections of the Class, if any,
     regarding the Settlement Agreement and the Settlement set forth therein, and
     consider its fairness, reasonableness, and adequacy precedent to final approval of
     the Settlement Agreement;

C.   That the Court set a date and time for a hearing at which the final approval of the
     Settlement Agreement can be considered and, if appropriate, a final Order
     dismissing the Action with prejudice can be entered, and that the Court establish
     other deadlines for the filing with the Court of any motions, objections, or other
     papers related to the settlement prior.




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Dated: December 17, 2007                  Respectfully submitted,

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                                          (signed by John J. Calkins with consent)
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